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AO 440(Rev.06/12) Summons in a Civil Action


                                    United States District Court
                                                                  for the

                                                       Eastern District of Virginia


                       Juul Labs, Inc.,




                           Plaintijf(s)
                                                                            Civil Action No. 1•19-cv-00715 LO/IDD

     The Unincorporated Associations Identified in
                         Schedule A,



                          Defendant(s)
                                                         Amended
                                                   SUMMONS IN A CIVIL ACTION

To:(Defendant's name and address)
                                          Min Zhang (miss_zhang)
                                          qtp_misszhang@outlook.com
                                          shiyan0227@outlook.com
                                          qtp_misszhang@hotmail.com



          A lawsuit has been filed against you.

          Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                          Monica Riva Talley
                                          Sterne Kessler Goldstein & Fox, P.L.L.C.
                                          1100 New York Ave., N.W., Suite 600
                                          Washington, DC 20005-3934


          If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                CLERK OF COURT



 Date:
                 7/25/2019
                                                                                         Signature ofClerk or Deputy Clerk
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